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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

DERRICK BROOKS,

 

Plaintiff,
v. No. 04-3043 B
UNlFIRST CORPORATION, INC.,

Defendant.

 

ORDER TO ACCOMPLISH SERVICE OF PROCESS OR FILE
DOCUMENTATION INDICATING DEFENDANT’S WAIVER OF SERVICE

 

Plaintiff, Derrick Brooks, initiated this lawsuit on December 22, 2004. On l\/lay l l, 2005,
the Court ordered the Plaintiff to effectuate service in accordance with Rule 4(m) of the F ederal
Rules ofCivil Procedure because nothing in the Court’s docket indicated that the Defendant, Unifirst
Coiporation, Inc., had been served with process or waived such servicel On l\/Iay 18, 2005, Plaintiff
filed a response to the Court’s order asserting that notice of the lawsuit and a waiver of service had
been sent to the registered agent for the Defendant. However, nothing in the Plaintiff`s response
indicated that the Defendant has actually waived service of the summons under Rule 4(d).

Rule 4(d)(4) provides that “[w]hen the plaintiffhles a waiver of service with the court, the
action shall proceed . . . as ifa summons and complaint had been served at the time of filing the
waiver, and no proof ofservice shall be required.” Fed. R. Civ. P. 4(d)(4). According to the docket

entries, the Plainti ff has not filed a waiver of service with the Court.l Accordingly, Plaintiff is given

 

‘ The Court notes that if the Defendant fails to comply with the request for waivcr, Rule
4(d)(2) directs the Court to “impose the costs subsequently incurred in effecting service on the

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This document entered on the docket sheet in ccmp€le.nca

with Rula 55 and/or 79(3) FHCP on § "L§ -’QS @

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an additional fifteen (15) days to proceed with service of the summons and complaint or to file
documentation evidencing Defendant’s waiver. Failure to accomplish service or obtain a waiver
thereofmay result in dismissal without prejudice of Plaintiff’s claims

IT IS SO ORDERED this 2§ day fl\/lay, 2005.

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. D IEL BREEN
UNIT D STATES DISTRICT J DGE

 

defendant unless good cause for the failure [can] be shown.” Fed. R. Civ. P. 4(d)(2).

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-03043 was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Florence M. Johnson

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Honorable J. Breen
US DISTRICT COURT

